                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                           GREENVILLE DIVISION

   UNITED STATES OF AMERICA

   v.                                        Docket No.: 2:08CR00038


   ROBERT MARK McPHERSON


                             SENTENCING MEMORANDUM


                 The defendant, Robert Mark McPherson, by counsel, files the following

   sentencing memorandum on his behalf:

                 Robert Mark McPherson entered a plea of guilty to the charge of

   Conspiracy to Distribute and Possession with Intent to Distribute 5 grams or More of

   Methamphetamine, in violation of Title 21 U.S.C. Section 846 and 841(b)(1)(B); Class B

   Felony (lessor included offense). The offense carries a minimum mandatory 5-40 years

   imprisonment. Mr. McPherson’s plea was instrumental to the Government’s case against

   his co-defendants.

                 A Pre-Sentence Investigation Report was completed and filed on December

   14, 2009 by U.S.P.O. Nathan T. Wolfe. Neither the Government nor the defendant has

   filed objections to said report. Mr. McPherson’s sentencing is set before this Court for

   January 15, 2010. Mr. McPherson requests that in light of the totality of the

   circumstances, that this Court consider a downward departure from the sentencing

   guidelines.



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                 The Court must consider Title 18 U.S.C. 3553 in terms of imposition of

   sentence. However, so long as such statutory mandates are complied with, said sentence

   is in the discretion of the trial court. Booker v. United States, 543 U.S. 220, (2005).

   Sentencing guidelines are advisory and are not meant to bind the common sense of the

   Trial Court with respect to a departure or a variance in consideration of the factors stated

   in Title 28 U.S.C. 3553 (a). See, U.S. v. Chase, 560 F.3d 828 (8th Cir 2009) – advanced

   age, military service, health issues, and employment history could all warrant a

   downward variance under 3553(a);U.S v. Howe, 543 F.3d 128 (3d Cir. 2008) (affirming

   two years probation with 3 months house arrest for wire fraud despite a guideline range

   of 18-24 months).

                 In this instance, this was a victimless crime. Mr. McPherson was caught up

   in the actions of others to support his own addiction. That much is clear. No innocent

   person suffered physical or pecuniary harm because Mark McPherson and others took the

   “red tub” identified by the United States in this case. The individuals who owned and

   filled the “red tub” are much more culpable than Mr. McPherson than he and his wife.

   Those individuals are also going to be sentenced by this Court.

                 Mark McPherson is a methamphetamine addict. He has used and abused

   this horrific drug since 1985. His very lengthy pretrial detention has probably saved his

   life. He desperately needs this Court’s drug abuse program. Please see the attached

   letters from Mr. McPherson’s family members.

                 Mark McPherson is not a typical drug dealer. He does not abuse alcohol, to

   our knowledge, information or belief. His only tie is a loose tie to the Trivette clan,



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   where he obtained the methamphetamine to help him go about his daily life.

                  Such wound him up where he is currently held. He is a user and an

   abuser. He has been for the past 25 years. Day in, day out. A user. He needs this

   Court’s drug abuser program in the most desperate way possible.

                 Based upon the totality of the circumstances, the undersigned moves for a

   downward departure from the sentencing guidelines and for Mr. McPherson to be

   sentenced to no more than the mandatory minimum for this offense. Such would benefit

   the underlying intent of the Guidelines and the intent of the policy statements and

   amendments of the Federal Sentencing Commission. Additionally, as such is within the

   discretion of this Court, such would benefit those who would later come before the Court

   on sentencing for similar events that have similar histories to Mr. McPherson. Mr.

   McPherson is not a drug dealer. He is a drug user. Such is the evidence before the Court.

   He is simply an addict who got caught up in the scheme established by the others before

   this Court.

          Mr. McPherson’s sentencing guidelines call for a term of 63 to 78 months. The

   mandatory minimum for this offense is 60 months. The undersigned accordingly pleas

   for a sentence of no more than 60 months based upon the guidelines.

                 The Court has ample justification for a downward departure from the

   guidelines in this instance and the defendant so requests.



                                                    ROBERT MARK McPHERSON

                                                    By Counsel



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   /s/Robert B. Dickert
   P. O. Box 872
   Abingdon, VA 24212
    (276) 525-1640
   rbdickert@yahoo.com


                            CERTIFICATE OF SERVICE

                 I hereby certify that on this the 12th day of January, 2010, I
   electronically filed the foregoing Sentencing Memorandum, and attachments, with
   the Clerk of this Court using the CM/ECF system which will send notification of
   such filing to all other interested parties and have sent via regular mail to Nathan
   T. Wolfe, 220 West Depot Street, Suite 338, Greenville, TN 37743.




                                                /s/Robert B. Dickert




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